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                                                     C©MBI.NED COUR13
    0FORM 1.2. DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL
     LEADING OF COMPLAINT, COUNTERCLAIM, CROS~~W QJl ffiRt> i3A.RTY
    COMPLAINT AND JURY DEMAND                    Llll


     District Court Weld                                 County, Colorado
     Court Address: 901 9th Ave
                       Greeley, CO 80631


     Plaintiff(s): Ethel Susanne Halter
     V.
     Defendant(s): Weld       County Sheriff's Office                                     .6. COURT USE ONLY .6.

     Attorney or Party Without Attorney (Name and Address):                        Case Number:
     Ethel susanne Halter
     7200 E state Highway 14 Lot 5           Fort Collins, CO 80524                  J£Jl?~t!'Y'~
    Phone Number: 970-988--0404              E-mail: s uehalter@gmail.com
    IFAX Number: NIA                          Atty. Reg. #:   NIA                  .b I() 6......-
          DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL PLEADING OF
                                      COMPLAINT,
                COUNTERCLAIM, CROSS-CLAIM OR THIRD PARTY COMPLAINT
                                   AND JURY DEMAND


    1. This cover sheet shall be filed with the initial pleading of a complaint, counterclaim, cross-
       claim or third party complaint in every district court civil (CV) case. It shall not be filed in
       Domestic Relations (DR), Probate (PR), Water (CW), Juvenile (JA, JR, JD, N), or Mental
       Health (MH) cases. Failure to file this cover sheet is not ajurisdictional defect in the pleading
       but may result in a clerk's show cause order requiring its filing.

    2. Simplified Procedure under C.R.C.P. 16.l applies to this case unless (check one box below if
       this party asserts that C.R.C.P. 16.1 does not apply):

          0    This is a class action, forcible entry and detainer, Rule 106, Rule 120, or other similar
               expedited proceeding, or

          ~    This party is seeking a monetary judgment against another party for more than
               $100,000.00, including any penalties or punitive damages, but excluding attorney fees,
               interest and costs, as supported by the following certification:

                  By my signature below and in compliance with C.R.C.P. 11, based upon information
                  reasonably available to me at this time, I certify that the value of this party's claims
                  against one of the other parties is reasonably believed to exceed $100,000."


-         Or



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                                                        Exhibit D
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    D Another party has previously filed a cover sheet stating that C.R.C.P. 16.1 does not apply
    to this case.

3. D This party makes a Jury Demand at this time and pays the requisite fee. See C.R.C.P. 38.
   (Checking this box is optional.)

Date:   September 5. 2019                              ~~~h~~
                                                   Signature of Party or Attorney for Party
NOTICE
This cover sheet must be served on all other parties along with the initial pleading of a
complaint, counterclaim, cross-claim, or third party complaint.




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                                                    Exhibit D
